                Case 01-01139-AMC                 Doc 22825          Filed 08/17/09           Page 1 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                         )    Chapter 11
                                                               )
W.R. GRACE & CO., et al.,1                                     )    Case No. 01-01139 (JKF)
                                                               )    (Jointly Administered)
                                       Debtors.                )
                                                               )

                             DECLARATION OF SERVICE REGARDING:

DEBTORS’ DISCLOSURE STATEMENT FOR THE FIRST AMENDED                                                       Copy attached
JOINT PLAN OF REORGANIZATION UNDER CHAPTER 11 OF THE                                                      hereto as
BANKRUPTCY CODE OF W. R. GRACE & CO., ET AL., THE OFFICIAL                                                Exhibit A
COMMITTEE OF ASBESTOS PERSONAL INJURY CLAIMANTS, THE
ASBESTOS PI FUTURE CLAIMANTS’ REPRESENTATIVE, AND THE
OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS DATED AS
OF FEBRUARY 27, 2009

EXHIBIT BOOK TO FIRST AMENDED JOINT PLAN                                                       OF         Copy attached
REORGANIZATION AND DISCLOSURE STATEMENT AS                                                     OF         hereto as
FEBRUARY 27, 2009 comprised of:                                                                           Exhibit B

        Exhibit 1 First Amended Joint Plan Of Reorganization
        Exhibit 2 Asbestos PI Trust Agreement
        Exhibit 3 Asbestos PD Trust Agreement
        Exhibit 4 Asbestos PI Trust Distribution Procedures
1
 The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co. Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/k/a
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., GC Limited Partners I, Inc., (f/k/a Grace Cocoa Limited Partners I, Inc.), GC Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc. GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation., W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (F/k/a Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.




                                                                                                                                  page 1 of 2159
          Case 01-01139-AMC         Doc 22825     Filed 08/17/09    Page 2 of 6




     Exhibit 5 Schedule Of Settled Asbestos Insurers Entitled To 524 (g)
      Protection
     Exhibit 6 Asbestos Insurance Transfer Agreement
     Exhibit 7 [intentionally left blank]
     Exhibit 8 Best Interests Analysis
     Exhibit 9 CDN ZAI Minutes Of Settlement
     Exhibit 10 Cooperation Agreement
     Exhibit 11 PI Deferred Payment Agreement
     Exhibit 12 Financial Information
     Exhibit 13 Fresenius Settlement Agreement
     Exhibit 14 To Exhibit Book Fresenius Settlement Order
     Exhibit 15 W. R. Grace & Co. Guarantee Agreement (PI)
     Exhibit 16 Non-Debtor Affiliate Schedule
     Exhibit 17 To Exhibit Book Plan Registration Rights Agreement
     Exhibit 18 Rejected Executory Contracts And Unexpired Leases
      Schedule
     Exhibit 19 Retained Causes Of Action Schedule
     Exhibit 20 Share Issuance Agreement
     Exhibit 21 Unresolved Asbestos PD Claims Schedule
     Exhibit 22 Sealed Air Settlement Agreement
     Exhibit 23 Sealed Air Settlement Order
     Exhibit 24 Warrant Agreement
     Exhibit 25 Case Management Order For Class 7A Asbestos PD Claims
     Exhibit 26 Asbestos PI/PD Inter-Creditor Agreement
     Exhibit 27 Asbestos Payment Agreement (Class 7A PD)
     Exhibit 28 Asbestos Payment Agreement (Class 7B ZAI)
     Exhibit 29 W. R. Grace & Co. Guarantee Agreement (Class 7A PD)
     Exhibit 30 W. R. Grace & Co. Guarantee Agreement (Class 7B ZAI)
     Exhibit 31 Stock Incentive Plan
     Exhibit 32 Stock Trading Restrictions Term Sheet
     Exhibit 33 ZAI PD Trust Distribution Procedures

NOTICE OF CONFIRMATION HEARING AND IMPORTANT                                Copy attached
DEADLINES IN RELATION TO THE FIRST AMENDED JOINT PLAN OF                    hereto as
REORGANIZATION OF W. R. GRACE & CO., ET AL.                                 Exhibit C

ORDER APPROVING DISCLOSURE STATEMENT, SOLICITATION AND                      Copy attached
CONFIRMATION PROCEDURES, CONFIRMATION SCHEDULE AND                          hereto as
RELATED RELIEF                                                              Exhibit D

W. R. GRACE & CO. ET AL. VOTING PROCEDURES                                  Copy attached
                                                                            hereto as
                                                                            Exhibit E

NOTICE OF PROCEDURES RELATING TO PAYMENT OF POST-                           Copy attached



                                                                                            page 2 of 2159
           Case 01-01139-AMC          Doc 22825   Filed 08/17/09   Page 3 of 6




PETITION INTEREST ON GENERAL UNSECURED CLAIMS                              hereto as
                                                                           Exhibit F

NOTICE OF NON-VOTING CLAIM STATUS FOR JOINT PLAN OF                        Copy attached
REORGANIZATION                                                             hereto as
                                                                           Exhibit G

NOTICE TO COUNTERPARTIES TO EXECUTORY CONTRACTS AND                        Copy attached
UNEXPIRED LEASES                                                           hereto as
                                                                           Exhibit H

NOTICE OF NON-VOTING STATUS WITH RESPECT TO UNIMPAIRED                     Copy attached
CLASSES DEEMED TO ACCEPT JOINT PLAN OF REORGANIZATION                      hereto as
                                                                           Exhibit I

CD INSTRUCTION LETTER                                                      Copy attached
                                                                           hereto as
                                                                           Exhibit J

VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF INDIRECT                     Custom sample
PI TRUST CLAIMS WITHIN CLASS 6 ASBESTOS PI CLAIMS                          attached hereto
                                                                           as Exhibit K

VOTING INSTRUCTIONS AND MASTER BALLOT FOR HOLDERS OF                       Custom sample
CLASS 7A ASBESTOS PD CLAIMS                                                attached hereto
                                                                           as Exhibit L

VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF CLASS 7B                     Custom sample
ASBESTOS PD CLAIMS (US ZAI PD CLAIMS)                                      attached hereto
                                                                           as Exhibit M

VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF CLASS 9                      Custom sample
GENERAL UNSECURED CLAIMS                                                   attached hereto
                                                                           as Exhibit N

MASTER BALLOT AND VOTING INSTRUCTIONS FOR CLASS 10                         Sample
EQUITY INTERESTS OF W. R. GRACE & CO. (CUSIP # 38388F108)                  attached hereto
                                                                           as Exhibit O
                                                                           Sample
VOTING INSTRUCTIONS AND BALLOT FOR HOLDERS OF CLASS 10                     attached hereto
EQUITY INTERESTS OF W. R. GRACE & CO. (CUSIP # 38388F108)                  as Exhibit P

RETURN ADDRESS ENVELOPE [copy not attached hereto]                         Exhibit Q

      I, Kevin Martin, state as follows:



                                                                                             page 3 of 2159
             Case 01-01139-AMC        Doc 22825       Filed 08/17/09     Page 4 of 6




       1.     I am over eighteen years of age and I believe the statements contained herein are true

based on my personal knowledge. My business address is c/o BMC Group, Inc. (f/k/a Bankruptcy

Management Corporation), 444 North Nash Street, El Segundo, California 90245.

       2.     At the direction of Kirkland & Ellis LLP, co-counsel to the debtors and debtors in

possession in the above-captioned cases, the documents attached hereto as Exhibits A through Q

were served as described in Exhibits 1 through 35. Service commenced on April 1, 2009 and

concluded on May 19, 2009:



Exhibit 1         Address List regarding Exhibits A through J and Q

Exhibit 2         Address List regarding Exhibits A through E, J, K and Q served on Class 6
                  parties

Exhibit 3         Address List regarding Exhibits A through E and J

Exhibit 4         Address List regarding Exhibits C, D and I

Exhibit 5         Address List regarding Exhibits A through E, G and J

Exhibit 6         Address List regarding Exhibits A through F, J, N and Q served on Class 9
                  parties

Exhibit 7         Address List regarding Exhibits A through E, J, K and Q served on Class 6
                  parties

Exhibit 8         Address List regarding Exhibits A through E, J, L and Q served on class 7A
                  parties

Exhibit 9         Address List regarding Exhibits A through F, J, K and Q served on Class 6
                  parties

Exhibit 10        Address List regarding Exhibits A through E, J, M and Q served on Class 7B
                  parties

Exhibit 11        Address List regarding Exhibits A through E, J, O, P and Q served on Class 10
                  parties




                                                                                                       page 4 of 2159
             Case 01-01139-AMC      Doc 22825      Filed 08/17/09    Page 5 of 6




Exhibit 12       Address List regarding Exhibits A through E, J, K, L and Q served on Class 6
                 and 7A parties

Exhibit 13       Address List regarding Exhibits A through E, J, K and Q served on Class 6
                 parties

Exhibit 14       Address List regarding Exhibits A through Q

Exhibit 15       Address List regarding Exhibits A through E, J, O and P served on Class 10
                 parties

Exhibit 16       Address List regarding Exhibits A through E and J

Exhibit 17       Address List regarding Exhibits A and B

Exhibit 18       Address List regarding Exhibits A, B, O and P served on Class 10 parties

Exhibit 19       Address List regarding Exhibits A through E

Exhibit 20       Address List regarding Exhibits A through D and J

Exhibit 21       Address List regarding Exhibits A through E, K and Q served on Class 6 parties

Exhibit 22       Address List regarding Exhibits A, B and E

Exhibit 23       Address List regarding Exhibits A through E, K and Q served on Class 6 parties

Exhibit 24       Address List regarding Exhibits M and Q served on Class 7B parties

Exhibit 25       Address List regarding Exhibits N and Q served on Class 9 parties

Exhibit 26       Address List regarding Exhibits K and Q served on Class 6 parties

Exhibit 27       Address List regarding Exhibits A through E, K and Q served on Class 6 parties

Exhibit 28       Address List regarding Exhibits A through E, J, K and Q on Class 6 parties

Exhibit 29       Address List regarding Exhibits A, B and J

Exhibit 30       Address List regarding Exhibit N served on Class 9 parties

Exhibit 31       Address List regarding Exhibit K served on Class 6 parties

Exhibit 32       Address List regarding Exhibits K and N served on Class 6 and 9 parties




                                                                                                  page 5 of 2159
Case 01-01139-AMC   Doc 22825   Filed 08/17/09   Page 6 of 6




                                                               page 6 of 2159
